          Case 18-04076   Doc 4   Filed 10/08/18   Entered 10/08/18 15:13:10   Desc Main Document   Page 1 of 3




                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL                                     §              Case No. 17-40180
2014, L.P.,                                                 §              Chapter 7
                                                            §
                                                            §
         DEBTOR.                                            §


JASON R. SEARCY, CHAPTER 11                                 §
TRUSTEE FOR PAYSON                                          §
PETROLEUM, INC.,                                            §
                                                            §
      Plaintiff,                                            §
                                                            §
vs.                                                         §              Adversary No. 18-04076
                                                            §
NEIL AGRAWAL, ET AL.,                                       §
                                                            §
      Defendants.                                           §

         PLAINTIFF’S NOTICE OF DISMISSAL OF DEFENDANTS
ROSHAN BHATNAGAR; KURT E. ERICKSON; GJQ AND SLQ INVESTMENTS, LLC;
        WILLIAM NG; JAMES STEVENS; AND GERLINDE STEVENS

         Plaintiff Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc. (“Plaintiff”) files

his notice of dismissal of Defendants Roshan Bhatnagar; Kurt E. Erickson; GJQ and SLQ

Investments, LLC; William Ng; James Stevens; and Gerlinde Stevens under Federal Rule of Civil

Procedure 41(a)(1)(A)(i) made applicable by Federal Rule of Bankruptcy Procedure 7041.

         1.        Plaintiff is Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc.

         2.        On September 12, 2018, Plaintiff sued 231 defendants in the above-captioned

adversary proceeding, including Defendants Roshan Bhatnagar; Kurt E. Erickson; GJQ and SLQ

Investments, LLC; William NG; James Stevens; and Gerlinde Stevens (“Subject Defendants”).

         3.        Subject Defendants have been served with process and have not served an answer

                                                            1
        Case 18-04076    Doc 4   Filed 10/08/18   Entered 10/08/18 15:13:10   Desc Main Document   Page 2 of 3




or a motion for summary judgment.

       4.      This case is not a class action under Federal Rule of Civil Procedure 23, a derivative

action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

       5.      A receiver has not been appointed in this case.

       6.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       7.      Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       8.      Only Defendants Roshan Bhatnagar; Kurt E. Erickson; GJQ and SLQ Investments,

LLC; William Ng; James Stevens; and Gerlinde Stevens are dismissed from the above-captioned

adversary proceeding.

       9.      This dismissal is without prejudice.

                                                       Respectfully submitted,

                                                       SNOW SPENCE GREEN LLP




                                                       By:____________________
                                                           Blake Hamm, SBN 24069869
                                                           blakehamm@snowspencelaw.com
                                                           Aaron Guerrero, SBN 24050698
                                                           aaronguerrero@snowspencelaw.com
                                                           Bryan Prentice, SBN 24099787
                                                           bryanprentice@snowspencelaw.com
                                                           2929 Allen Parkway, Suite 2800
                                                           Houston, Texas 77019
                                                           (713) 335-4800
                                                           (713) 335-4848 (Fax)

                                                       Attorneys for Jason R. Searcy,
                                                       Trustee for Payson Petroleum, Inc.



                                                           2
           Case 18-04076     Doc 4    Filed 10/08/18   Entered 10/08/18 15:13:10    Desc Main Document        Page 3 of 3




                                            CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 8th day of October 2018, a true and correct copy of
the above and foregoing was served upon all parties via the Court’s electronic case filing system
(ECF) and by first class mail, postage prepaid to the following Defendants:

Roshan Bhatnagar
1 S. 128 Addison Avenue
Lombard, IL 60148

Kurt E. Erickson
4848 E. Milton Drive
Cave Creek, AZ 85331

GJQ and SLQ Investments, LLC
c/o Gordon J. Quan, Registered Agent
2 W. Terrace
Houston, TX 77007


William Ng
218 Wood Glen
Oak Brook, IL 60523

James Stevens
1609 Browns Lane
Hayes, VA 23072

Gerlinde Stevens
1609 Browns Lane
Hayes, VA 23072



                                                             /s/ Blake Hamm
                                                             Blake Hamm




I:\Client\SEAJ1001-Searcy-Payson\Adversary Proceedings\18-04076 3 Well 2014-GP\Rule 41 Dismissal\Rule 41 Dismissal.docx




                                                                 3
